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                          **NOT FOR PRINTED PUBLICATION**

                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 § CASE NUMBER 9:20-CR-00060-RC
v.                                               §
                                                 §
                                                 §
ANTHONY KREBS                                    §
                                                 §

         ORDER ACCEPTING FINDINGS OF FACT AND RECOMMENDATION
                      ON DEFENDANT’S GUILTY PLEA

         The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

the court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

Defendant guilty on Counts One and Four of the Superseding Indictment filed against the

Defendant.

         The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ACCEPTED. The court accepts the Defendant’s plea but defers acceptance of the

plea agreement until after review of the presentence report.          The court ORDERS the

Defendant’s attorney to read and discuss the presentence report with the Defendant and file any

objections to the report BEFORE the date of the sentencing hearing.


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       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Anthony Krebs, is adjudged

guilty as to Counts One and Four of the Superseding Indictment charging a violation of 21 U.S.C.

§ 841(a)(1) (Possession with the Intent to Distribute or Dispense Methamphetamine) and 18 U.S.C. §

924(c)(1) (Carry and Use of a Firearm During and in Relation to a Drug Trafficking Crime).

             So ORDERED and SIGNED, Mar 28, 2021.


                                                                ____________________
                                                                Ron Clark
                                                                Senior Judge




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